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United States District Court NOV ¢ 6
Eastern District of Michigan V6 2021
. * let CLERK'S OFFIC
Southern Division U.S, DISTRICT COURT
ANN ARBOR, Mj

United States of America,

Plaintiff,
Hon. Judith E. Levy
v.
Case No, 21-20548
Phillip Cape,

Defendant.
/

 

- Plea Agreement

The United States of America and the defendant, Phillip Cape, have reached
a plea agreement under Federal Rule of Criminal Procedure i1. The plea
apgreement’s terms are:

1. Count of Conviction

The defendant will waive his right to an indictment and will plead guilty to
Count | of the information. Count | charges the defendant with Attempted

Coercion and Enticement of a Minor under 18 U.S.C. § 2422(b).

2. Statutory Minimum and Maximum Penalties

The defendant understands that the count to which he is pleading guilty

carries the following minimum and maximum statutory penalties:

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Count | Term of imprisonment: At least 10 years and up to life
Fine: Up to $250,000
Term of supervised release: At least 5 years and up to life

 

 

 

 

 

The defendant understands that Count 1 requires a mandatory minimum
sentence of 120 months’ imprisonment and that the Court may not impose a
sentence on that count below the mandatory minimum.

3. Agreement Not to Bring Additional Charges

If the Court accepts this agreement and imposes sentence consistent with its
terms, the United States Attorney’s Office for the Eastern District of Michigan will
not bring additional charges against the defendant for Distribution of Child
Pornography, under 18 U.S.C. § 2252A(a)(2); Receipt of Child Pornography,
under 18 U.S.C. § 2252A(a)(2); Possession of Child Pornography, under 18 U.S.C.
§ 2252A(a)(5)(B); or Possession with Intent to Distribute a Controlled Substance
(Methamphetamine), under 21 U.S.C. § 841(a)(1), based on evidence recovered
from Cape and/or his vehicle on February 20, 2020.

4, Elements of Count of Conviction

The elements of Count | are:
1. The defendant knowingly used a facility or means of interstate

commerce to persuade, induce, entice or coerce an individual

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under the age of eighteen (18) to engage in prostitution or sexual
activity;
2. The defendant believed that such individual was less than eighteen
(18) years of age;
3. The defendant could have been charged with a criminal offense for
engaging in the specified activity.
5. Factual Basis

The parties agree that the following facts are true, accurately describe the
defendant’s role in the offense, and provide a sufficient factual basis for the
defendant’s guilty plea:

Beginning on September 22, 2018, in the Eastern District of Michigan and
elsewhere, the defendant, Phillip Cape, knowingly sent messages to an agent who
was acting in an undercover capacity online (the OCE) over various mobile
applications. In these messages, Cape expressed his interest in traveling to engage
in sexual activity with the OCE’s daughter, who Cape knew was 11 years old. To
entice the OCE to and the OCE’s daughter to have sex, Cape indicated that he
could provide methamphetamine to the girl and the OCE. The OCE and Cape
discussed dates and times to meet, but communication between the OCE and Cape

ceased around October 5, 2018.

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On December 23, 2019, Cape again sent messages over a mobile application
to the OCE asking if the OCE was “still around” and whether the OCE
remembered Cape from their prior conversations. Cape asked, “Things still going
with ya daughter?” He also asked, “U still want to get her high and share?”

The conversation between the OCE and Cape continued with Cape again
offering to provide methamphetamine to the OCE’ and the OCE’s daughter, who
Cape knew, at that point, was 12 years old. Cape and the OCE discussed ground
rules for the meeting, including the following:

Cape: well what are your limits

OCE: You have to use a condom for everything except maybe oral sex. If
she cries it has to stop. Nothing that will leave any marks.

Cape: Absolutely. Cryings a no go.
OCE: 100%

Cape: I want her to want it.

Cape: A horny 12 year old slut is so hot.

OCE: I think shell (sic) e good. I just want to make sure ur good with the
possibility she doesn’t go along with it.

Cape: Of course.
Cape: But I bet I can help her feel sexy.

OCE: Shell (sic) like that I think. Also she like those sour patch candies.
Shed probably be ur best friend of (sic) you gave her some of those lol.

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Cape: We can walk somewhere and get em for her.
Cape also requested a photo of the girl.

On February 20, 2020, Cape agreed to meet with the OCE and the OCE’s
daughter at a restaurant in Romulus, Michigan, which is located in the Eastern
District of Michigan. At approximately 8:00 p.m., Cape arrested in the restaurant
parking lot, and found with a pipe and a quantity of methamphetamine in his car.

All mobile applications used by Cape to communicate with the OCE were
facilities or means of interstate commerce. Cape could have been charged with
offenses under Michigan law for engaging in the discussed sexual activity with a

minor.

6. Advice of Rights

The defendant has read the information, has discussed the charge and
possible defenses with his attorney, and understands the crime charged. The
defendant understands that, by pleading guilty, he is waiving many important
rights, including the following:

A. The right to plead not guilty and to persist in that plea;

B. ‘The right to a speedy and public trial by jury;

C. The right to be represented by counsel—and, if necessary, have the

court appoint counsel—at trial;

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D. ‘The right to be presumed innocent and to require the government to
prove the defendant guilty beyond a reasonable doubt at trial;

E. ‘The right to confront and cross-examine adverse witnesses at trial;

F. ‘The right to testify or not to testify at trial, whichever the defendant
chooses;

G. If the defendant chooses not to testify at trial, the right to have the jury
informed that it may not treat that choice as evidence of guilt;

H. The right to present evidence or not to present evidence at trial,
whichever the defendant chooses; and

I The right to compel the attendance of witnesses at trial.

7. Collateral Consequences of Conviction

The defendant understands that his conviction here may carry additional
consequences under federal or state law. The defendant understands that, if he is
not a United States citizen, his conviction here may require him to be removed
from the United States, denied citizenship, and denied admission to the United
States in the future. The defendant further understands that the additional
consequences of his conviction here may include, but are not limited to, adverse
effects on the defendant’s immigration status, naturalized citizenship, right to vote,
right to carry a firearm, right to serve on a jury, and ability to hold certain licenses

or to be employed in certain fields. The defendant understands that no one,

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including the defendant’s attorney or the Court, can predict to a certainty what the
additional consequences of the defendant’s conviction might be. The defendant
nevertheless affirms that the defendant chooses to plead guilty regardless of any
immigration or other consequences from his conviction.

8.  Defendant’s Guideline Range
A.  Court’s Determination

The Court will determine the defendant’s guideline range at sentencing.

B. Acceptance of Responsibility

The government recommends under Federal Rule of Criminal Procedure
11(c)(1)(B) that the defendant receive a two-level reduction for acceptance of
responsibility under USSG § 3E1.1{a). Further, if the defendant’s offense level is
16 or greater and the defendant is awarded the two-level reduction under USSG |
§ 3E1.1(a), the government recommends that the defendant receive an additional
one-level reduction for acceptance of responsibility under USSG § 3E1.1(b). if,
however, the government learns that the defendant has engaged in any conduct
inconsistent with acceptance of responsibility—including, but not limited to,
making any false statement to, or withholding information from, his probation
officer; obstructing justice in any way; denying his guilt on the offense to which he
is pleading guilty; committing additional crimes after pleading guilty; or otherwise

demonstrating a lack of acceptance of responsibility as defined in USSG § 3E1.1—

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the government will be released from its obligations under this paragraph, will be
free to argue that the defendant not receive any reduction for acceptance of
responsibility under USSG § 3E1.1, and will be free to argue that the defendant
receive an enhancement for obstruction of justice under USSG § 3C1.1.

C. Other Guideline Recommendations

The parties also recommend under Federal Rule of Criminal Procedure
11(c)(1)(B) that the following guideline provisions apply:
e USSG 2G.13(a)(3) — Base Offense Level
e USSG 2G1.3(b)(3) ~ Use of computer
e USSG 2G1.3(b)(5) — Minor who had not attained the age of 12 years of age

D. ‘Factual Stipulations for Sentencing Purposes

The parties have no additional factual stipulations for sentencing purposes.

E. ‘Parties’ Obligations

Both the defendant and the government agree not to take any position or
make any statement that is inconsistent with any of the guideline recommendations
or factual stipulations in paragraphs 8.B, 8.C, or 8.D. Neither party is otherwise
restricted in what it may argue or present to the Court as to the defendant’s

guideline calculation.

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FE, Not a Basis to Withdraw

| The defendant understands that he will have no right to withdraw from this
agreement or withdraw his guilty plea if he disagrees, in any way, with the
guideline range determined by the Court, even if that guideline range does not
incorporate the patties recommendations or factual stipulations in paragraphs 8.B,
8.C, or 8.D. The government likewise has no right to withdraw from this
agreement if it disagrees with the guideline range determined by the Court.

9, Imposition of Sentence
A.  Court’s Obligation

The defendant understands that in determining his sentence, the Court must
calculate the applicable guideline range at sentencing and must consider that range,
any possible departures under the sentencing guidelines, and the sentencing factors .
listed in 18 U.S.C. § 3553(a), and apply any applicable mandatory minimums.

B. Imprisonment

1. Recommendation
Under Federal Rule of Criminal Procedure 11(c)(1)(B), the government
recommends that the defendant’s sentence of imprisonment not exceed the

midpoint of the defendant’s guideline range as determined by the Court.

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2. No Right to Withdraw

The government’s recommendation in paragraph 9.B,1 is not binding on the
Court. The defendant understands that he will have no right to withdraw from this
agreement or withdraw his guilty plea if the Court decides not to follow the
government’s recommendation, The government likewise has no right to withdraw
from this agreement if the Court decides not to follow the government’s
recommendation. If however, the Court rejects or purports to reject any other term
or terms of this plea agreement, the government will be permitted to withdraw
from the agreement.

C. Supervised Release
1. Recommendation

Under Federal Rule of Criminal Procedure 11(c)(1)(B), the parties
recommend that the Court impose five years of supervised release.

2, No Right to Withdraw

The parties’ recommendation is not binding on the Court. The defendant
understands that he will have no right to withdraw from this agreement or
withdraw his guilty plea if the Court decides not to follow the parties’
recommendation. The defendant also understands that the government’s
recommendation concerning the length of the defendant’s sentence of

imprisonment, as described above in paragraph 9.B.1, will not apply to or limit any

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term of imprisonment that results from any later revocation of the defendant’s

supervised release.

D. ‘Fines

There is no recommendation or agreement as to a fine.

E. Restitution

The Court must order restitution to every identifiable victim of the
defendant’s offense. There is no recommendation or agreement on restitution. The
Court will determine at sentencing who the victims are and the amounts of
restitution they are owed.

The defendant agrees that restitution is due and payable immediately after
the judgment is entered and is subject to immediate enforcement, in full, by the
United States, 18 U.S.C. §§ 3612(c) and 3613. If the Court imposes a schedule of
payments, the defendant agrees that the schedule of payments is a schedule of the
minimum payment due, and that the payment schedule does not prohibit or limit
the methods by which the United States may immediately enforce the judgment in
full.

The defendant agrees to make a full presentence disclosure of his financial
status to the United States Attorney’s Office by completing a Financial Disclosure
Form and the accompanying releases for the purpose of determining his ability to

pay restitution. The defendant agrees to complete and return the Financial

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Disclosure Form within three weeks of receiving it from government counsel. The
defendant agrees to participate in a presentencing debtor’s examination if
requested to do so by government counsel.

F, Forfeiture

The defendant agrees under 18 U.S.C. § 981{a){1)(C) and 28 U.S.C. § 2461,
to forfeit any property, real or personal, that constitutes or is derived from proceeds
traceable to a violation of the offense Charged in Count One of the Information.
The defendant also agrees under 18 USC § 2428(a)(1), to forfeit any property, real
or personal, used or intended to be used, to commit or to facilitate the commission
of the offense charged in Count One of the Information; including but not limited
to one Samsung SM-A102U,

The defendant agrees to the entry of one or more orders of forfeiture,
including the entry of a Preliminary Order of Forfeiture, incorporating the
forfeiture of the above referenced property following the defendant’s guilty plea,
upon application by the United States as mandated by Fed. R. Crim, P. 32.2. The
defendant agrees that the forfeiture order will become final as to the defendant at
the time entered by the Court.

The defendant expressly waives his right to have a jury determine the
forfeitability of his interest in the above identified property as provided by Fed. R.

Crim, P, 32.2(b)(5).

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The defendant further waives the requirements of Fed. R. Crim. P. 32.2 and
43(a) regarding notice of the forfeiture in the charging instrument, pronouncement
of the forfeiture at sentencing, and incorporation of the forfeiture in the judgment.

The defendant acknowledges that he understands that the forfeiture of
property is part of the sentence that may be imposed in this case and waives his
right to challenge any failure by the Court to advise him of his rights with respect
to forfeiture, set forth in Fed. R. Crim. P. 11(b)(1)).

The defendant further agrees to hold the United States, its agents, and
employees, harmless from any claims whatsoever in connection with the seizure
and forfeiture of the firearm and ammunition referenced above.

The defendant knowingly, voluntarily, and intelligently watves any statutory
and constitutional challenge to the above-described forfeiture including any
challenge based upon the Excessive Fines Clause of the Eighth Amendment to the
United States Constitution.

G. Special Assessment

The defendant understands that he will be required to pay a special
assessment of $100, due immediately upon sentencing.

10. SORNA

Defendant understands that by pleading guilty in this case, he will be

required to register as a sex offender, under both federal and state registration

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requirements. As a condition of his release from prison on supervised release in
this case, defendant will be obligated to promptly register under the federal sex
offender registry. Defendant may also be required to register under the law of the
state in which he resides, as well as any state where he has significant contacts
(including any state where he resides, works, attends school or otherwise has
significant contacts). Defendant further understands that he will be required to
maintain and update his registration for at least twenty years, and potentially for

the rest of his life.

11. Appeal Waiver

The defendant waives any right he may have to appeal his conviction on any
grounds. If the defendant’s sentence of imprisonment does not exceed the top of
the guideline range determined by the Court, the defendant also waives any right
he may have to appeal his sentence on any grounds.

12. Collateral Review Waiver

The defendant retains the right to raise claims alleging ineffective assistance
of counsel or prosecutorial misconduct, as long as the defendant properly raises
those claims by collateral review under 28 U.S.C. § 2255, The defendant also
retains the right to pursue any relief permitted under 18 U.S.C. § 3582(c), as long
as the defendant properly files a motion under that section. The defendant,

however, waives any other right he may have to challenge his conviction or

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sentence by collateral review, including, but not limited to, any right he may have
to challenge his conviction or sentence on any grounds under 28 U.S.C. § 2255
(except for properly raised ineffective assistance of counsel or prosecutorial
misconduct claims, as described above), 28 U.S.C. § 2241, or Federal Rule of Civil
Procedure 59 or 60.

13, Consequences of Withdrawal of Guilty Plea or Vacation of Judgment

If the defendant is allowed to withdraw his guilty plea, or if the defendant’s
conviction or sentence under this agreement is vacated, the government may
reinstate any charges against the defendant that were dismissed as part of this
agreement and may file additional charges against the defendant relating, directly
or indirectly, to any of the conduct underlying the defendant’s guilty plea or any
relevant conduct. If the government reinstates any charges or files any additional
charges as permitted by this paragraph, the defendant waives his right to challenge
those charges on the ground that they were not filed in a timely manner, including
any claim that they were filed after the limitations period expired.

14. Use of Withdrawn Guilty Plea

The defendant agrees that if he is permitted to withdraw his guilty plea for
any reason, he waives all of his rights under Federal Rule of Evidence 410, and the

government may use his guilty plea, any statement that the defendant made at his

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guilty plea hearing, and the factual basis set forth in this agreement, against the
defendant in any proceeding.

15. Parties to Plea Agreement

This agreement does not bind any government agency except the United
States Attorney’s Office for the Eastern District of Michigan.

16. Scope of Plea Agreement

This plea agreement is the complete agreement between the parties and
supersedes any other promises, representations, understandings, or agreements
between the parties concerning the subject matter of this agreement that were made
at any time before the guilty plea is entered in court. Thus, no oral or written
promises made by the government to the defendant or to the attorney for the
defendant at any time before the defendant pleads guilty are binding except to the
extent they have been explicitly incorporated into this plea agreement. If the parties
have entered, or subsequently enter, into a written proffer or cooperation
agreement, though, this plea agreement does not supersede or abrogate the terms of
that agreement. This plea agreement also does not prevent any civil or
administrative actions against the defendant, or any forfeiture claim against any

property, by the United States or any other party.

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17. Acceptance of Agreement by Defendant

The government may withdraw from this agreement at any time before the
defendant pleads guilty.

Saima S. Mohsin
Acting United States Attorney

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Benjamin C. Coats Meghan Sweeney Bean

Chief, Major Crimes Unit Assistant United States Attorney

Assistant United States Attorney
Dated: August 23, 2021

By signing below, the defendant and his attorney agree that the defendant

has read or been read this entire document, has discussed it with his attorney, and
has had a full and complete opportunity to confer with his attorney. The defendant
further agrees that he understands this entire document, agrees to its terms, has had

all of his questions answered by his attorney, and is satisfied with his attorney’s

/ ce
advice and representation. vi

Mark’ 7 = Phillip Cape
Attorney for Defendant Defendant

Dated: Ma fZ /

  

 

 

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